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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )
In re:                                                 ) Chapter 11
                                                       )
THE ROMAN CATHOLIC DIOCESE OF                          ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                            )
                                                       )
Debtor.                                                )
                                                       )


              DECLARATION OF CHARLES D’ESTRIES IN SUPPORT OF
              MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
               CREDITORS TO DISMISS CHAPTER 11 CASE [D.I. 1912]

         I, Charles D’Estries, pursuant to 28 U.S.C. § 1746 and under penalty of perjury, declare:

         1.      I am over twenty-one years of age and am competent to make this declaration

(this “Declaration”) in support of the Motion of the Official Committee of Unsecured Creditors to

Dismiss Chapter 11 Case [D.I. 1912] (“Motion to Dismiss”), filed by the Official Committee of

Unsecured Creditors (the “Committee”) appointed in the chapter 11 case of The Roman Catholic

Diocese of Rockville Centre, New York (the “Debtor” or “Diocese”).
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       2.       Except as otherwise stated in this Declaration, all facts set forth herein are based

on my personal experience, knowledge or understanding.

I.     INTRODUCTION AND BACKGROUND

       3.      Beginning when I was 13 years old, I was sexually abused by a Diocesan priest.

       4.      Following the passage of New York’s Child Victims Act in 2019 which opened

the statutory window for asserting sexual abuse claims (the “CVA”), my personal lawyer, Jason

P. Amala, a member of the law firm Pfau Cochran Vertetis Amala PLLC (“PCVA”), filed a

complaint on my behalf in New York state court against the Diocese and St. Patrick’s Parish in

connection with the abuse to which I had been subjected during 1968-1970 (the “State Court

Case”). My State Court Case is pending, but has been stayed because of the commencement of

the Diocese’s bankruptcy case and the preliminary injunction entered in the bankruptcy case

staying state court litigation against non-debtors.

II.    THE COMMENCEMENT OF THE DIOCESE’S BANKRUPTCY CASE AND
       APPOINTMENT AND ROLE OF THE COMMITTEE

       5.      On October 1, 2020 (the “Petition Date”), the Diocese filed a bankruptcy case

under chapter 11 of the United States Bankruptcy Code (the “Bankruptcy Case”). On October

16, 2020, the Office of the United States Trustee formed the Committee, and I was appointed to

serve as a member of the Committee. See Notice of Appointment of Official Committee of

Unsecured Creditors [D.I. 71]. I have served on the Committee since its formation. Following

its formation, the Committee selected Pachulski Stang Ziehl & Jones LLP (“PSZJ”) as its

bankruptcy counsel, Burns Bair LLP (“Burns Bair”) as its special insurance counsel, and

Berkeley Research Group, LLC (“BRG”) as its financial advisor. I have continued to be

represented in my personal capacity by Mr. Amala and PCVA.




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       6.      The Committee has at all times since its formation had nine (9) members,

including eight individuals who were sexually abused as minors (myself included) and one

representative of a minor with a civil rights claim against the Diocese. My duties as a

Committee member, and those of the other Committee members, are to be responsible for

unsecured creditors of the estate, including the 600-plus survivors that that have filed claims

against the Diocese in the Bankruptcy Case (the “Survivors”). While the Committee is

responsible for the Survivors as a constituency, the Committee does not represent any Survivor

directly in his or her individual capacity.

       7.      The Committee works closely with our advisors and considers information

regarding the Diocese, the Bankruptcy Case and the claims of Survivors and other unsecured

creditors. Based largely on this information and the education provided to the Committee, the

Committee votes on positions regarding issues in the Bankruptcy Case. A number of state court

counsel representing certain members of the Committee also participate in our meetings, each

bringing a wealth of experience and expertise relevant to the issues facing the Committee. Once

the Committee votes on an issue, counsel to the Committee executes on the decisions made by

the Committee.

       8.      I have attended over one hundred Committee meetings since the commencement

of the Bankruptcy Case over 2½ years ago in October 2020. On average, I spend over 6 hours

per week preparing for and attending Committee meetings (generally conducted over Zoom or

by telephone). Our counsel attends and provides information and advice at each meeting. My

personal counsel also attends the majority of these meetings. I receive and read emails from

Committee advisors regarding Committee business regularly, generally several times a week,

depending on case activities or developments. I prepare for Committee meetings in advance of




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each meeting, and review information provided by the Committee’s advisors regarding the issues

to be discussed and/or determined by the Committee.

       9.      As a Committee member, when deciding on behalf of the Committee, the impact

of the Committee’s decision on my personal claim does not affect my decision. As a Committee

member, I work for the Survivor constituency as a whole. I take very seriously, and so do my

colleagues on the Committee, our responsibility not to ourselves, but to the people who are

trying to find resolution in the form of a fair compensation settlement so their lives can go on.

As Committee members, we cannot think about our own personal situations, but must think, as a

whole, about the enormity of all of the varying situations, severity and difficulties faced by the

600-plus Survivors, each of whom faces impacts from the abuse he or she suffered and who

seeks fair compensation for such abuse.

       10.     The Committee recognizes that the 600-plus Survivors are people. People who

have suffered horrific circumstances no one should ever face. And this case is not just about the

600-plus Survivors. Thousands of people are impacted because each Survivor has people who

love them, who are trying to support them, and who are also working through the impacts the

abuse has had on their lives. The Survivors are not simply a number, nor are they faceless

“claims” seeking undue recompense.

       11.     The Committee’s goal is to do its best to help Survivors obtain fair and adequate

compensation on account of their abuse claims.

III.   THE DIOCESE PLAN AND THE TREATMENT OF SURVIVOR CLAIMS

       12.     In early 2023, I learned the Diocese filed its Chapter 11 Diocese Plan of

Reorganization for The Roman Catholic Diocese of Rockville Centre, New York [D.I. 1614] (the

“Diocese Plan”) and related Disclosure Statement [D.I. 1615] (the “Diocese Disclosure




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Statement”). I have generally reviewed the Diocese Plan and Diocese Disclosure Statement, and

have specifically reviewed certain aspects of these documents that impact the Survivors and the

treatment of their claims. The Committee and its advisors have discussed the Diocese Plan and

Diocese Disclosure Statement at length. Based on my review and these discussions, I understand

that the Diocese seeks through the Diocese Plan to provide full releases for its approximately 135

parishes and potentially hundreds of other non-debtor affiliates whose identities the Diocese has

yet to disclose (the “Non-Debtor Entities”). I understand that the Diocese will not support a plan

that does not include full releases for the Non-Debtor Entities.

       13.     The Committee filed its own First Amended Chapter 11 Diocese Plan of

Reorganization [D.I. 1643] (the “Committee Plan”) and related Disclosure Statement [D.I.

1644]. The Committee Plan provides the Non-Debtor Entities with the opportunity to settle for

$200 million, an amount the Committee proposed based on our understanding of fair

compensation for the claims against Non-Debtor Entities to be released and the assets available

to pay such claims. I understand that the Diocese will object to the Committee Plan on various

grounds, including that it does not require a release for the Non-Debtor Entities and that the

confirmation of the Committee Plan violates the Diocese’s religious freedom.

       14.     The Diocese Plan also proposes low value settlements with certain affiliates to

whom the Diocese transferred significant assets prior to its bankruptcy filing to shelter those

assets from Survivors. The Diocese Plan includes settlements for approximately $7.5 million

with an additional $29 million over ten years and 65% of the proceeds from the sale of property.

In contrast, the Committee Plan offers to settle with the same affiliates for $86 million now and

85% of the proceeds from the property sale.




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       15.     Finally, the Diocese Plan fails to provide the Committee fair value for the Diocese

captive insurance company and unnecessarily retains unrestricted cash that should be used to

compensate Survivors.

       16.     It is the Committee’s position that the monetary compensation proposed to the

Survivors is wholly inadequate. Under these circumstances, neither the Committee, nor the

Survivors (as reflected by the joinders to the Motion to Dismiss filed by Survivors), will support

the Diocese Plan, even as it belatedly promises to revise it further.

IV.    THE MEDIATION PROCESS

       17.     Since the Petition Date, the Committee has been engaged in significant efforts to

reach a consensual resolution to this Bankruptcy Case, but has faced delay after delay, waiting

for the information necessary to bring this case to resolution. The Committee has been slow-

walked and stonewalled by the Diocese at virtually every turn.

       18.     During the past year, the Committee has participated in five mediation sessions,

with four to five Committee members attending in person while others participated remotely. I

have travelled to New York City to be present at every mediation session.

       19.     I attended the last mediation session that occurred over May 18 and 19, 2023 in

New York City. Towards the end of the May 19th session, the mediators told the Committee that

the Non-Debtor Entities would increase their offer from $11.1 million to $40 million. Before the

conclusion of the May 19th session, the Committee promptly gave a counter-offer which has not

received a response to this day. Since the conclusion of the mediation on May 19th, the

Committee has not received any substantive communication from either of the mediators setting

additional mediation sessions or raising mediation topics.




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       20.     In addition, the Committee was in close contact with its advisors during all of the

mediation sessions to discuss the issues raised in connection with mediations and the

Committee’s strategy and positions regarding those issues. To date, mediation has not resulted

in a consensual resolution of the Bankruptcy Case and, after nearly 3 years, the parties remain at

an impasse.

       21.     It has been a terrible experience to be involved in a resolution process where there

has been no response, much less movement, by the Diocese and the Non-Debtor Entities in

response to an offer. The Diocese’s and Non-Debtor Entities’ silence and lack of response to the

Committee’s latest proposal has been exceedingly frustrating. While the Committee remains

open to an immediate resolution based on the fair treatment of Survivor’s claims, the Committee

is not interested in further delay through the continued pursuit of a process in this Bankruptcy

Case in which the Diocese and the Non-Debtor Entities remain unwilling to engage in

productive, substantive and timely discussions and resolution of Survivor’s claims through the

provision of real and fair value.

V.     THE COMMITTEE’S MOTION TO DISMISS THE BANKRUPTCY CASE

       22.     Following the filing of the Diocese Plan, and in light of the Diocese’s and Non-

Debtor Entities’ unwillingness to engage in the mediation process with the Committee or provide

fair value to the Survivors, in or around March 2023, the Committee and its advisors began

serious discussion of whether the dismissal of the Bankruptcy Case would be in the best interests

of the Survivors. Ultimately, the Committee determined that, based on the Diocese’s approach

taken in the Bankruptcy Case and the utter lack of progress in the resolution of Survivor’s

claims, there was no real alternative to a dismissal of the Bankruptcy Case and a return to the

state court process. The Committee, therefore, unanimously voted to file and pursue the Motion




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to Dismiss. At times after that unanimous vote, the Committee agreed to continue the hearing on

the Motion to Dismiss because it believed that a continuance would result in substantive

movement from the Diocese and the Non-Debtor Entities. Its belief was misplaced.

        23.     The Committee has considered the best interest of Survivors and their questioning

of, and frustration with, the process. We are tired of the way we have been treated in the

Bankruptcy Case and, at this juncture, we are frustrated with a bankruptcy process where the

Debtor and the Non-Debtor Entities use time as a strategy against Survivors. Survivors are

asking why the process has taken so long and why the Bankruptcy Case continues without

progress or resolution. We, the Survivors, want to go back to where we were before the

bankruptcy. We want our day in court and want to undertake discovery to move forward with

our claims. We want to pursue the parishes and others responsible for our abuse. We want to

tell our story, describe what happened to us, not just when we were young but the impact it had

on our whole lives and the lives of our families. Survivors want to stop the money that should be

available to pay our claims from going to bankruptcy professionals; finally ending the Diocese

spending tens of millions of dollars in legal fees while penny-pinching when it comes to survivor

recompense. It is mind-boggling that the attorneys for the Diocese and the Diocese listening to

their advice would rather stay on the current course and stall Survivors instead of providing

Survivors the fair treatment to which they are entitled. The Diocese had almost three years to

address these issues during the Bankruptcy Case, but has failed to do so. The Diocese’s most

recent offer to amend the Diocese Plan is wholly insufficient and only serves to highlight the

utter failure of its case strategy.

        24.     Survivors are not only the 50, 60, 70 and 80 year olds that have filed claims now,

but are also the innocent children who were abused years ago. Please do not see me only as a




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69-year old testifying witness, but also as the 13-year old boy who was abused by his priest.

And look at those other Survivors not as old men and women, but as the children they were when

they were abused, some as young as 4-years old. We were blameless children when we were

abused. The Bankruptcy Case has resulted in a nearly 3-year delay with Survivors being no

closer to resolution than we were on the Petition Date, only now we face a much depleted pool of

assets. The time and money wasted by the Diocese is astonishing, as is the Diocese’s failure to

listen to our voices, the voices of the Survivors. There is no reasonable basis to believe that

continuance of the Bankruptcy Case will work for any Survivor in terms of the timing of

resolution of their claims.

        25.     The Committee understands that dismissal of the Bankruptcy Case is not a

panacea, will present challenges and may have an impact on Survivors different from that in the

Bankruptcy Case in certain respects. However, as compared to the negative and stalled

experience of the bankruptcy process endured by Survivors, it is the Committee’s position that

dismissal, and a return to state court and the forward movement lacking in the Bankruptcy Case,

is the best interests of its constituency.

        26.     There are two primary reasons for the Committee’s – and Survivor’s – support for

dismissal of the Bankruptcy Case.

        27.     First, the Bankruptcy Case has been pending for nearly 3 years without real

progress in resolving the claims of Survivor Claimants, notwithstanding numerous mediation

sessions and attempts by the Committee to “bring the Diocese to the table.” The Diocese, for

reasons unknown to the Committee, is not taking the lives of the Survivors and the resolution of

our claims as seriously as it should. The Committee has done its job, but the Committee’s efforts

in this Bankruptcy Case have gone largely unanswered and unmatched by the Diocese. The




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parties are at an impasse with no visible prospect of an immediate acceptable change in position

by the Diocese and the Non-Debtor Entities. As evidenced by the joinders filed to the Motion to

Dismiss, the vast majority of the Survivors will not support the Diocese Plan. The Committee

and Survivors will not support the Diocese Plan that provides inadequate compensation from the

Diocese itself and gifts releases to Non-Debtor Entities and recipients of fraudulent transfers for

a pittance. There is, therefore, no reasonable prospect of rehabilitation for the Diocese.

       28.     Second, the Diocese’s estate is hemorrhaging money. The Committee’s financial

advisor, BRG, has advised the Committee that the estate has incurred significant losses after

reorganization items/professional fees, and has cumulatively lost over $70 million in unrestricted

net assets, in the period from the Petition Date through April 2023. Because of the Diocese’s

lack of engagement with the Committee regarding a resolution of the Bankruptcy Case, there is

no end in sight to the burn. The Committee believes this bleeding of Diocese assets – assets that

should rightly pay Survivors for the abuse committed – needs to cease. As there is no settlement

in prospect, dismissal is the only way to stop incurrence of expenses at this extraordinary rate.

       29.     It is, therefore, the Committee’s position that returning to state court is a better

alternative than what is going on in the Bankruptcy Case, which is nothing.

       30.     I think of this like our house is on fire. Is it better to step out of the house and

walk onto the driveway, or is it better to stay in the house that’s on fire? Maybe there are not a

lot of reasons to be in the driveway, but if your house is on fire, you want to get out. Similarly,

we feel like the house is on fire. There is no progress and the case is not going anywhere – it is

burning down. It is time to get out.

       31.     Moving forward in state court, and moving toward justice and our “day in court”

is preferable to the stagnant nearly 3-year period of inertia that Survivors have faced in this




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Bankruptcy Case. The Committee thus believes that dismissal of the Bankruptcy Case is in the

best interests of Survivors.

VI.    ATTENDANCE AT HEARING ON MOTION TO DISMISS AND
       AVAILABILITY FOR CROSS-EXAMINATION

       32.     I plan to attend the hearing on the Motion to Dismiss scheduled for July 10th and

11th in person and will be available for cross-examination regarding my direct testimony

provided by this Declaration.

       I declare under penalty of perjury that the foregoing is true and correct to the best of

knowledge and belief. I executed this Declaration on June 30, 2023 at Buffalo, New York.



                                              /s/ Charles D’Estries
                                              Charles D’Estries




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